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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
                             Chief Judge Philip A. Brimmer

Civil Action No. 23-cv-01888-PAB
(Bankruptcy No. 22-12455-TBM, Chapter 13)

In re:

CHRISTOPHER PATRICK BOYD,

     Debtor.
_____________________________________________________________________

CHRISTOPHER PATRICK BOYD,

         Appellant,
v.

HEMP RECOVERY COMPANY, LLC,

         Appellee.


                             ORDER TRANSFERRING CASE


         Pursuant to D.C.COLO.LCivR 40.1(a), it is

         ORDERED that this matter is transferred to Senior Judge Robert E. Blackburn.

It is further

         ORDERED that all future filings in this case shall be docketed under Civil Case

No. 23-cv-01888-REB.


         DATED February 29, 2024.

                                          BY THE COURT:



                                          PHILIP A. BRIMMER
                                          Chief United States District Judge
